                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


UNITED STATES OF AMERICA,                           CASE NO.:      3:22-CR-00274-JRK

       Plaintiff,

               v.                                   JUDGE JAMES R. KNEPP II

AMANDA HOVANEC,

       Defendant.                                   SENTENCING SCHEDULING ORDER


       This matter is rescheduled for sentencing on October 1, 2024 at 9:00 AM in Courtroom
2B before Judge James R. Knepp II. Counsel is directed to appear at 8:45 AM. Any related
motions and/or memoranda shall be filed at least ten (10) days prior to sentencing. Defense
counsel may refer to https://www.bop.gov/resources/publications.jsp for a list of programs
available through the Bureau of Prisons in which Defendant may request participation.

 Date of Plea or Verdict:                                                          2/14/2024
 Any revisions to the Proposed Presentence Report shall be disclosed to
 counsel no later than:                                                            8/20/2024
 (not less than six (6) weeks prior to sentencing)
 Counsel’s Written Objections or Notice of No Objections to the
 Presentence Report shall be provided to the Probation Officer no later than:       9/3/2024
 (two (2) weeks after disclosure of Proposed Presentence Report)
 Presentence Report and any statement of unresolved objections shall be
 submitted to the Court and disclosed to counsel no later than:                    9/17/2024
 (two (2) weeks prior to sentencing)
 Counsel to file any sentence related motions and/or memoranda by:
                                                                                   9/23/2024
 (ten (10) days prior to sentencing)
 Judgment and Sentencing date:
                                                                                   10/1/2024
 (not less than fourteen (14) weeks from plea or verdict)

       SO ORDERED on May 21, 2024.

                                                    s/ James R. Knepp II
                                                    UNITED STATES DISTRICT JUDGE
